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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 9:21-cv-81331-AMC

   AFFORDABLE AERIAL PHOTOGRAPHY,
   INC.,

          Plaintiff,

   v.

   JOHN ABDELSAYED AND TRENDS
   REALTY USA CORP,

          Defendants.


               PLAINTIFF’S MOTION TO STRIKE ANSWER/THIRD-PARTY
                COMPLAINT AS FILED BY TRENDS REALTY USA CORP.

         Plaintiff Affordable Aerial Photography, Inc. (“Plaintiff”) hereby files this motion to strike

  the “Answer and Defenses to the Complaint and Third-Party Complaint” (the “Answer”) [D.E. 8]

  as filed by defendant Trends Realty USA Corp. (“Trends”) only, and states as follows:

         1.      In this lawsuit, Plaintiff asserts claims for copyright infringement and removal of

  copyright management information against defendant John Abdelsayed (“Abdelsayed”) (who has

  appeared pro se). With respect to Trends, Plaintiff asserts a single claim (Count III) for vicarious

  copyright infringement.

         2.      On August 26, 2021, Abdelsayed purported to file the Answer – both on behalf of

  himself and on behalf of Trends (an existing Florida corporation).

         3.      As the Court knows, federal law requires a corporation to be represented by

  counsel. See, e.g. Rowland v. Cal. Men's Colony, Unit II Men's Advisory Council, 506 U.S. 194,

  201-02 (1993) (“It has been the law for the better part of two centuries… that a corporation may

  appear in the federal courts only through licensed counsel."); Palazzo v. Gulf Oil Corp., 764 F.2d


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  1381, 1385 (11th Cir. 1985) (“The rule is well established that a corporation is an artificial entity

  that… cannot appear pro se, and must be represented by counsel.”); Ermert v. Caribbean Bus. Inc.,

  Civil Action No. 20-23803-Civ-Scola, 2021 U.S. Dist. LEXIS 2343, at *2 (S.D. Fla. Jan. 6,

  2021) (“As an initial matter, to the extent Morzan seeks to represent Caribbean Business,

  corporations may not litigate a matter pro se.                In order to appear in this matter, then,

  Caribbean must be represented by counsel.”) (internal citations omitted).

           4.      Abdelsayed is not an attorney licensed to practice law in the State of Florida, the

  United States District Court for the Southern District of Florida, or any other jurisdiction. As a

  result, he cannot as a matter of law represent Trends in this lawsuit.

           WHEREFORE, Plaintiff respectfully requests that the Court enter an Order: (a) striking

  the Answer insofar as it was filed on behalf of Trends; (b) requiring Trends (through counsel) to

  file its response to the Complaint within seven (7) days thereof;1 and (c) for such further relief as

  the Court deems proper.

                                 LOCAL RULE 7.1(a)(3) CERTIFICATE

           Before filing this Motion, undersigned counsel conferred with Abdelsayed with respect to

  the relief requested. Abdelsayed did not agree to the relief requested.



  Dated: August 28, 2021.


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           Trends’ response would otherwise be due on or before August 27, 2021.
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   By: /s/ Daniel DeSouza, Esq.______
           Daniel DeSouza, Esq.
           Florida Bar No.: 19291
           James D’Loughy, Esq.
           Florida Bar No.: 0052700



                                  CERTIFICATE OF SERVICE

         I hereby certify that on August 28, 2021, I electronically filed the foregoing document with

  the Clerk of the Court using CM/ECF, which will electronically serve all counsel of record. I

  further certify that, on August 28, 2021, the foregoing document was served via US Mail on

  Defendants at: 921 Dickens Place, West Palm Beach, FL 33411.


                                                  /s/ Daniel DeSouza___
                                                  Daniel DeSouza




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